           Case 20-10339-mdc                    Doc   Filed 12/15/22 Entered 12/15/22 17:22:46                        Desc Main
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Fill in this information to identify the case

Debtor 1 Charles S. Vernacchio

Debtor 2 Beverly A. Vernacchio
(Spouse, if filing)

United States Bankruptcy Court for the: EASTERN District of PENNSYLVANIA
                                                                        (State)
Case number 20-10339


Official Form 410S1
Notice of Mortgage Payment Change                                                                                              12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a
supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                              U.S. Bank National Association, as Trustee for
                              American General Mortgage Loan Trust 2010-1
                              American General Mortgage Pass-Through
Name of creditor              Certificates, Series 2010-1                           Court claim no. (if known)            16
                                                                                    Date of payment change
Last four digits of any number                                                      Must be at least 21 days after date of         2/1/2023
you use to identify the debtor's                                                    this notice
account:                               4441
                                                                                    New total payment:
                                                                                    Principal, interest, and escrow, if any        $1,451.61
Part 1:           Escrow Account Payment Adjustment

  1.   Will there be a change in the debtor's escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
           Describe the basis for the change. If a statement is not attached, explain why:


           Current escrow payment:         $419.77      New escrow payment:      $484.99

Part 2:           Mortgage Payment Adjustment

  2.   Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-rate
       note?
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is
           not attached, explain why:


           Current interest rate:                             %           New interest rate:                                   %

           Current principal and interest payment: $                      New principal and interest payment: $

Part 3:           Other Payment Change

  3.   Will there be a change in the debtor's mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
           agreement. (Court approval may be required before the payment change can take effect)

           Reason for change:

           Current mortgage payment: $                                    New mortgage payment: $




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Debtor 1          Charles S. Vernacchio                                              Case number (if known) 20-10339
            First Name                      Middle Name        Last Name



Part 4:              Sign Here

  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
  number.
  Check the appropriate box.
           I am the creditor.
           I am the creditor's authorized agent.

  I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
  knowledge, information, and reasonable belief.

  X     /s/Alyk L. Oflazian                                                 Date 12/15/2022
      Signature

  Print:                  Alyk Lily Oflazian                                Title   Attorneys for Creditor

  Company                 Manley Deas Kochalski LLC

  Address                 P.O. Box 165028
                         Number             Street

                          Columbus, OH 43216-5028
                         City                        State       ZIP Code

  Contact phone            614-220-5611                                     Email    amps@manleydeas.com




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                  IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:                                   :
                                         : Case No.: 20-10339
Charles S. Vernacchio                    : Chapter 13
Beverly A. Vernacchio                    : Judge Magdeline D. Coleman
                                         : *******************
                               Debtor(s)
                                         :
U.S. Bank National Association, as       : Related Document #
Trustee for American General Mortgage :
Loan Trust 2010-1 American General       :
Mortgage Pass-Through Certificates,      :
Series 2010-1                            :
                                Movant, :
       vs                                :
                                         :
Charles S. Vernacchio
Beverly A. Vernacchio

Kenneth E. West
                               Respondents.


                                 CERTIFICATE OF SERVICE

       I certify that on the date of filing, a copy of the foregoing Notice of Payment Change was

filed electronically. Notice of this filing will be sent to the following parties through the Court's

Electronic Case Filing System:

   Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov

   Kenneth E. West, Chapter 13 Trustee, ecfemails@ph13trustee.com

   David M. Offen, Attorney for Charles S. Vernacchio and Beverly A. Vernacchio,
   dmo160west@gmail.com

       I certify that on the date of filing, a copy of the foregoing document was sent by U.S.

Mail to the following:




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  Charles S. Vernacchio and Beverly A. Vernacchio, 189 Goshen Road, Schwenksville, PA
  19473


                                                /s/Alyk L. Oflazian




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